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                                               UNITED STATES DISTRICT COURT
                    13
                                             CENTRAL DISTRICT OF CALIFORNIA
                    14
                    15
                       UNITED STATES OF AMERICA ex rel.
                    16 BENJAMIN POEHLING,                           CASE NO. CV 16-08697 MWF
                                                                    (SSx)
                    17
                                  Plaintiffs,
                    18
                           v.                                       UNITED’S REPLY IN
                    19                                              SUPPORT OF ITS MOTION
                       UNITEDHEALTH GROUP, INC., et al.,            TO DISMISS UNITED
                    20                                              STATES’ FIRST AMENDED
                                  Defendants.                       COMPLAINT-IN-PARTIAL-
                    21                                              INTERVENTION
                    22
                    23                                              Hon. Michael W. Fitzgerald
                                                                    Courtroom: 5A
                    24
                    25                                              Hearing Date: January 29, 2018
                                                                    Hearing Time: 10:00 a.m.
                    26
                    27
                    28
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                                  Payment Policies 20 (Apr. 6, 2009),
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                         1                                 INTRODUCTION
                         2        DOJ successfully transferred this case to this District for the express purpose
                         3 of avoiding “inconsistent judicial decisions” between it and the then-pending
                         4 Swoben case, both of which alleged that United violated the False Claims Act by
                         5 submitting false “Risk Adjustment Attestations” concerning the accuracy of its
                         6 submissions to CMS.1 In light of that background, it is truly astonishing that DOJ
                         7 never even acknowledges, let alone distinguishes, the Swoben decision by Judge
                         8 Walter dismissing DOJ’s attestation-based claims due to DOJ’s failure to allege
                         9 that those Attestations affected CMS’s payment decisions—the same exact basis
                    10 for this motion. See United States ex rel. Swoben v. Scan Health Plan, CV 09-
                    11 5013-JFW (JEMx), 2017 WL 4564722, at *6 (C.D. Cal. Oct. 5, 2017). Indeed,
                    12 after taking a month to amend its Complaint here to try to fill that materiality gap,
                    13 DOJ still offers no allegations about the Attestations that would distinguish the
                    14 Complaint it defends here from the one dismissed in Swoben.
                    15            Unable to allege in good faith that CMS would have done anything
                    16 differently had it known of the supposed falsity of the Attestations, DOJ tries to
                    17 solve its materiality problem in two other ways. First, it reduces to the point of
                    18 nothingness the “rigorous” materiality standard the Supreme Court adopted in
                    19 Universal Health Services v. United States ex rel. Escobar, 136 S. Ct. 1989, 1996
                    20 (2016), which Swoben correctly applied in dismissing DOJ’s claims. Accepting
                    21 DOJ’s arguments would conflict not only with Swoben, but also with “the many
                    22 other federal courts that have recognized the heightened materiality standard after
                    23 [Escobar].” United States ex rel. Petratos v. Genentech Inc., 855 F.3d 481, 492
                    24 (3d Cir. 2017) (citing, inter alia, United States ex rel. Kelly v. Serco, Inc., 846 F.3d
                    25 325 (9th Cir. 2017)). And even if DOJ’s attempts to eviscerate Escobar otherwise
                    26
                             1
                    27        Mem. of Law In Support of Unopposed Mot. of the United States to Transfer
                             Venue 6, ECF No. 49.
                    28
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                         1 had merit, DOJ’s allegations about the materiality of the risk adjustment
                         2 Attestations are so anemic that they still would not suffice.
                         3         Second, DOJ tries to redirect attention from the Attestations at issue in
                         4 Swoben—and which form the sole basis for its Second, Third, and Fourth Claims
                         5 for Relief—to focus on the risk adjustment codes on which it bases the reverse
                         6 false claim theory in its new First Claim for Relief. At the outset, that pivot could
                         7 not possibly save its three attestation-based claims. And even with respect to the
                         8 sole claim as to which the risk adjustment codes themselves are relevant, the
                         9 Complaint’s allegations are insufficient because they merely allege that CMS
                    10 automatically would have accepted the return of funds if United had proffered
                    11 them. The relevant question under Escobar, though, is whether CMS would have
                    12 done anything differently if it had known the facts DOJ asserts in the Complaint.
                    13 If the threadbare allegation that the government automatically would have accepted
                    14 a defendant’s repayment were enough to establish materiality, that would reduce
                    15 Escobar’s “rigorous” materiality standard to a gutted shell.
                    16             The parties appear to have found common ground, meanwhile, on the
                    17 retroactivity problem United identified with DOJ’s First Claim for Relief.
                    18 Although its Complaint alleges that United received overpayments as early as
                    19 2005, DOJ offers no argument that would allow its First Claim to Relief to extend
                    20 that far back, and apparently now intends to limit that Claim only to “risk
                    21 adjustment payments for payment (i.e., calendar) year 2009 . . . and to all
                    22 subsequent payment and date of service years.” Pl.’s Opp. To United’s Mot. To
                    23 Dismiss 22, ECF No. 194 (hereinafter Opp.). Accordingly, at a minimum, the
                    24 Court should dismiss DOJ’s allegations from payment years preceding the 2009
                    25 amendments.
                    26             Finally, DOJ devotes considerable attention to other issues concerning the
                    27 structure of the Medicare Advantage program. But contrary to DOJ’s apparent
                    28 position, those issues are not before the Court. Instead, cross-motions for summary
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                         1 judgment that will resolve them are pending in UnitedHealthcare Insurance Co. v.
                         2 Hargan, No. 1:16-cv-00157-RMC (D.D.C.).2              This motion to dismiss on
                         3 materiality grounds does not raise or depend in any way on the meaning of the
                         4 Medicare     Act’s   “actuarial   equivalence”   standard,      42   U.S.C.   § 1395w-
                         5 23(a)(1)(C)(i), or any of the other questions pending in Hargan or argued by DOJ
                         6 in Argument I.C. of its brief. For purposes of resolving this motion, it does not
                         7 matter which party is right about those distinct legal questions (which would, in
                         8 any event, require extensive additional briefing to resolve).
                         9         What matters instead is that, as in Swoben, DOJ has not adequately alleged
                    10 as a matter of fact here that CMS would have withheld payment or otherwise
                    11 altered its behavior if it had known that United’s Attestations were supposedly
                    12 false and that some of its diagnosis codes were supposedly unsupported.
                    13 Presumably DOJ cannot make that allegation because CMS has known for years
                    14 that it is “inevitable” that many of the diagnosis codes submitted by health care
                    15 providers are unsupported (in its own data, as well as the data that MA plans
                    16 collect and submit), UnitedHealthcare Insurance Co. v. Hargan, No. 1:16-cv-
                    17 00157-RMC (D.D.C. Dec. 4, 2017), ECF No. 58 (Government Cross-Mot. for
                    18 Summ. J.), and yet has continued to accept Attestations from plans despite that
                    19 knowledge and has never withheld payments (or taken any other action) as a result
                    20 of those Attestations’ supposed falsity. But regardless of why DOJ has not made
                    21 the allegation, the dispositive point is that it has not.            DOJ has had several
                    22 opportunities to make that factual allegation, or even to assert that DOJ would
                    23 make that allegation if granted further leave to amend. It conspicuously has failed
                    24 to do so. Accordingly, the Complaint should be dismissed with prejudice.
                    25
                    26       2
                          The parties previously referred to this case as UnitedHealthcare Insurance Co.
                    27 v. Price, but following the resignation of former Secretary of Health and Human
                       Services Thomas Price, the case has been recaptioned.
                    28
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                         1 I.     DOJ Fails Adequately To Allege That The Claimed Violations Were
                         2        Material.

                         3        A.    A Violation Is Not Material Under The False Claims Act If The
                                        Government Would Have Taken The Same Action Even If The
                         4              Violation Had Not Occurred.
                         5        Under Escobar, a “complaint must allege that the violations at issue ‘are so
                         6 central . . . that the [Government] would not have paid these claims had it known
                         7 of these violations.’” Swoben, 2017 WL 4564722 at *6 (quoting Escobar, 136 S.
                         8 Ct. at 2004). It is not enough merely to show that the government “would have the
                         9 option to decline to pay.” Escobar, 136 S. Ct. at 2003. That flows from the
                    10 Supreme Court’s holding that “[u]nder any understanding of the concept,
                    11 materiality ‘look[s] to the effect on the likely or actual behavior of the recipient of
                    12 the alleged misrepresentation.’” Id. at 2002 (quoting 26 R. Lord, Williston on
                    13 Contracts § 69:12 (4th ed. 2003) (emphasis added)).3 As the Williston treatise the
                    14 Supreme Court quoted explains, the tests of the effect on “likely or actual”
                    15 behavior that different jurisdictions use are, respectively, either a “‘more likely
                    16 than not’ test, under which a misrepresentation is considered material if it is more
                    17 likely than not that it would induce action by the recipient,” or “a ‘but for’ test . . .
                    18 under which a misrepresentation is material if, had it not been made, the party
                    19 complaining of fraud would not have taken the action alleged to have been induced
                    20
                    21
                             3
                          The Court held that this test governs under both the False Claims Act’s statutory
                    22 definition of materiality, which appears in 31 U.S.C. § 3729(b)(4) and applies to
                    23 those parts of the False Claims Act that expressly mention materiality (as relevant
                       here, subsection (B) and the first part of subsection (G)), and the common law
                    24 definition, which applies to those subsections that do not expressly mention
                    25 materiality (as relevant here, subsection (A) and the second part of subsection (G)).
                       See Escobar, 136 S. Ct. at 2002. DOJ’s note (at 9) that United’s motion “d[id] not
                    26
                       even cite” the statutory definition, therefore, misses the point: United relied on the
                    27 Supreme Court’s authoritative articulation of the standard that applies to all of the
                       claims at issue in this case.
                    28
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                         1 by the misrepresentation.” 26 R. Lord, Williston on Contracts § 69:12 (4th ed.
                         2 2003).
                         3          Following Escobar, federal courts consistently have maintained this focus
                         4 on the “likely or actual” effect of the alleged conduct on the government’s payment
                         5 decision. The most on-point such case is Swoben itself. See 2017 WL 4564722, at
                         6 *6. In Swoben, Judge Walter squarely confronted the exact same arguments DOJ
                         7 offers here in response to United’s motion to dismiss based on DOJ’s failure to
                         8 allege that the supposedly false Attestations were material—and rejected them.
                         9 The Court held that DOJ failed to allege that CMS’s payment decision would have
                    10 been different if it had known that United’s Risk Adjustment Attestations were
                    11 supposedly false, and thus that DOJ’s attestation-based claims must be dismissed.
                    12 Id. Remarkably, DOJ ignores that on-point holding entirely—an ironic choice at
                    13 best given its previous argument that this case should be transferred in order to
                    14 avoid “inconsistent judicial decisions” in the two cases. Mem. of Law In Support
                    15 of Unopposed Mot. of the United States to Transfer Venue 6, ECF No. 49; cf.
                    16 Hamilton v. State Farm Fire & Cas. Co., 270 F.3d 778, 782 (9th Cir. 2001) (“This
                    17 court invokes judicial estoppel not only to prevent a party from gaining an
                    18 advantage by taking inconsistent positions, but also because of ‘general
                    19 consideration[s] of the orderly administration of justice and regard for the dignity
                    20 of judicial proceedings,’ and to ‘protect against a litigant playing fast and loose
                    21 with the courts.’”).4
                    22
                    23
                    24       4
                          DOJ does address the Ninth Circuit’s earlier decision in Swoben. See, e.g., Opp.
                    25 at 18. United disagrees with DOJ’s characterizations about what that decision
                       held, and how it would impact the other elements of DOJ’s claims. For present
                    26
                       purposes, though, what matters is that the Ninth Circuit clearly did not hold that
                    27 the Attestations were intrinsically material—as the subsequent dismissal of that
                       case on remand shows.
                    28
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                         1         Swoben is hardly an isolated decision, either.      The Second Circuit, for
                         2 example, recently held that “to be material the government must have made the
                         3 payment ‘as a result of the defendant’s alleged misconduct.’” Coyne v. Amgen,
                         4 Inc., No. 17-1522-CV, 2017 WL 6459267, at *2 (2d Cir. Dec. 18, 2017) (citation
                         5 omitted). The Third Circuit likewise held that if “there are no factual allegations
                         6 showing that CMS would not have reimbursed [the defendant] had these [alleged
                         7 reporting] deficiencies been cured,” then a complaint is “doomed.” United States
                         8 ex rel. Petratos v. Genentech Inc., 855 F.3d 481, 490 (3d Cir. 2017). Numerous
                         9 district courts similarly have held that materiality is absent unless “the government
                    10 would ‘not have paid the[] claims had it known of the[] violations.’” United States
                    11 ex rel. Jersey Strong Pediatrics, LLC v. Wanaque Convalescent Ctr., No. CV 14-
                    12 6651-SDW-SCM, 2017 WL 4122598, at *3 (D.N.J. Sept. 18, 2017) (quoting
                    13 Escobar, 136 S. Ct. at 2004).5
                    14             DOJ argues that Escobar’s reference to whether the government “would not
                    15 have paid the[] claims had it known of the[] violations,” 136 S. Ct. at 2004, was
                    16 merely “describing the relator’s allegations in the case,” Opp. 12, rather than
                    17 articulating a legal standard. But it cites no decision interpreting Escobar that way,
                    18
                             5
                    19          See also, e.g., A1 Procurement, LLC v. Thermcor, Inc., No. 2:15cv15, 2017 WL
                             2881350, at *5 (E.D. Va. July 5, 2017) (finding no materiality where “[t]he
                    20       statements made by Thermcor on the 8(a) renewal applications were not ‘so
                    21       central’ to the 8 (a) program that the government ‘would not have paid these
                             claims had it known’ of the statements”); United States v. Fulton Cty., Georgia,
                    22       No. 1:14-CV-4071-WSD, 2016 WL 4158392, at *8 (N.D. Ga. Aug. 5, 2016)
                    23       (finding materiality lacking where “Relators have not shown that Defendants
                             misrepresented matters ‘so central’ to the Contract that the government ‘would not
                    24       have paid [Defendants'] claims had it known of these violations’” (quoting
                    25       Escobar, 136 S. Ct. at 2004)); cf. United States v. N. Adult Daily Health Care Ctr.,
                             205 F. Supp. 3d 276, 296 (E.D.N.Y. 2016) (“Relators do not allege, as they are
                    26
                             now required to do under [Escobar], that . . . the government would have refused
                    27       reimbursement had it known of Northern Adult's noncompliance with Title VI and
                             the cited DOH regulations.”)
                    28
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                         1 and as Jersey Strong Pediatrics and the cases collected in footnote 5 illustrate,
                         2 courts instead consistently have recognized that the Court’s statement reflected its
                         3 holding, setting out the inquiry for the First Circuit to conduct on remand. See
                         4 also, e.g., United States v. Catholic Health Sys. of Long Island Inc., No. 12-CV-
                         5 4425 (MKB), 2017 WL 1239589, at *22 (E.D.N.Y. Mar. 31, 2017) (noting that the
                         6 Court in Escobar had “remanded for a determination of whether the mental health
                         7 facility requirements were ‘so central to the provision of mental health counseling
                         8 that the Medicaid program would not have paid the[] claims had it known of the[]
                         9 violations’”).    As one representative opinion put it just last week, “Escobar
                    10 indisputably requires that, before a party can employ the False Claims Act to effect
                    11 a disgorgement of the entire price times three,” it must “prove . . . that, if informed
                    12 [of the violation], the government would have chosen the remedy of a refusal to
                    13 pay.” United States ex rel. Ruckh v. Salus Rehabilitation, LLC, No. 8:11-cv-1303-
                    14 T-23TBM, 2018 WL 375720, at *5 (M.D. Fla. Jan. 11, 2018).                  Because that
                    15 showing of materiality had not been made there, the court set aside a $350 million
                    16 jury verdict against a nursing home defendant that had submitted inaccurate codes
                    17 regarding the intensity of treatments provided to residents. Id. at *1.
                    18            Against this crush of unfavorable case law on the governing materiality
                    19 standard, DOJ relies on a single post-Escobar decision—the Ninth Circuit’s
                    20 decision in United States ex rel. Campie v. Gilead Scis., Inc., 862 F.3d 890 (9th
                    21 Cir. 2017).6         But that decision is entirely consistent with the other cases just
                    22
                            6
                    23          DOJ also invokes the First Circuit’s decision on remand in Escobar, but as
                            noted, see supra at 6-7, the relators there had alleged that the government “would
                    24      not have paid” had it known of the violations, 136 S. Ct. at 2004, and the First
                    25      Circuit simply determined on remand that their allegation was plausible, see
                            United States ex rel. Escobar v. Universal Health Services, Inc., 842 F.3d 103,
                    26
                            111-12 (1st Cir. 2017). That confirms that the appropriate test is whether the
                    27      plaintiff has plausibly alleged that the government would have proceeded
                            differently if it had known of the defendant’s violation.
                    28
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                         1 discussed. There, the relators maintained that “had the FDA been aware of these
                         2 issues [with contamination and adulteration that Gilead allegedly concealed], it
                         3 would not have approved the use of the Synthetics China manufacturing facility.”
                         4 Id. at 896.     And because FDA approval was necessary to obtain government
                         5 reimbursement, it followed that if the FDA had been aware of the issue from the
                         6 outset, Gilead would never have received government payments for the
                         7 pharmaceuticals manufactured there. Id. at 897.7 Campie thus provides no support
                         8 for DOJ’s watered-down reading of Escobar.
                         9         DOJ also points to a pre-Escobar immigration case, Kungys v. United States,
                    10 485 U.S. 759 (1988), which Escobar cited for the proposition that “the “materiality
                    11 requirement descends from ‘common law antecedents.’” Escobar, 136 S. Ct. at
                    12 2002. DOJ concludes that Escobar must also have intended to apply to the False
                    13 Claims Act the same materiality standard that Kungys applied in the immigration
                    14 context, under which (DOJ claims) “something can be material even if it has less
                    15 than a 30 percent change of influencing the decision maker.” Opp. 12. There is no
                    16 way to reconcile that standard with the “likely or actual” effects test Escobar itself
                    17 actually articulated for the False Claims Act. 136 S. Ct. at 2002.8 Nor does DOJ
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                             7
                                In a parenthetical, DOJ quotes the Ninth Circuit’s statement that the relators had
                    19
                             “allege[d] more than the mere possibility that the government would be entitled to
                    20       refuse payment if it were aware of the violations.” Opp. 13 (quoting Campie, 862
                             F.3d at 907). To the extent DOJ means to suggest that that is the standard Campie
                    21
                             applied, it is plainly incorrect. Campie was simply distinguishing the claims
                    22       before it—in which, as noted, the relators had plausibly alleged that the
                             government would not have approved use of the facility and thus would not have
                    23
                             paid the defendant’s claims if it had known the truth from the outset, 862 F.3d at
                    24       896—from the claims in an earlier Ninth Circuit decision where the relator had
                             alleged only the “mere possibility” that the government could have refused
                    25
                             payment, without alleging that it actually would have refused payment, see United
                    26       States ex rel. Kelly v. Serco, Inc., 846 F.3d 325 (9th Cir. 2017).
                             8
                    27           It is unsurprising that the Court would employ different versions of the
                             materiality test in these different contexts. To prove the immigration violation at
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                         1 point to any court anywhere that has read Escobar that way. To the contrary,
                         2 courts have recognized that Escobar’s “rigorous” and “demanding” standard, 136
                         3 S. Ct. at 1996, 2003, represented a “heightened” version of the ordinary materiality
                         4 test. Petratos, 855 F.3d at 492 (“join[ing] the many other federal courts that have
                         5 recognized the heightened materiality standard after” Escobar) (citing, inter alia,
                         6 United States ex rel. Kelly v. Serco, Inc., 846 F.3d 325, 334 (9th Cir. 2017));
                         7 United States v. Sanford-Brown, Ltd., 840 F.3d 445, 447 (7th Cir. 2016)).9 DOJ
                         8 thus has no persuasive argument for replacing Escobar’s “likely or actual” effects
                         9 test, Escobar, 136 S. Ct. at 2002, with a “mere possibility” standard.
                    10             B.    Under Any Reasonable Interpretation Of Escobar, The Complaint
                                         Fails Adequately To Allege Materiality.
                    11
                                   In order for its Complaint to go forward in its entirety, DOJ must satisfy
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                            Escobar’s materiality standard for both of its distinct theories (which DOJ largely
                    13
                            melds together). One theory mirrors the attestation-based theory of the claims
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                            dismissed in Swoben: DOJ’s Second, Third, and Fourth Claims for Relief all state
                    15
                    16
                            issue in Kungys, the government needed to establish its case by clear and
                    17
                            convincing evidence. The Court thus reasoned that “the difficulty of establishing
                    18      ‘but for’ causality, by clear, unequivocal, and convincing evidence many years
                            after the fact, is so great that we cannot conceive that Congress intended such a
                    19
                            burden to be met before a material misrepresentation could be sanctioned.” 485
                    20      U.S. at 776-77. No comparably heightened evidentiary standard applies in a False
                            Claims Act case, and thus the traditional “more likely than not” or “but for” tests
                    21
                            of materiality are appropriate. In any event, the Complaint does not contain
                    22      sufficient allegations about the real-world possibility that CMS would have refused
                            payment to satisfy even Kungys.
                    23
                            9
                           DOJ also relies (at 12) on the Court’s statement in Matrixx Initiatives, Inc. v.
                    24 Siracusano that no “single fact or occurrence [i]s always determinative” of
                    25 materiality. 563 U.S. 27, 39 (2011). That statement simply reflected the varied
                       facts that can be used to satisfy the materiality standard; it did not describe the
                    26
                       standard itself. As United discusses below, the Complaint here does not even
                    27 allege that the necessary standard has been met, let alone point to facts that could
                       make such an allegation plausible or sufficiently particularized.
                    28
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                         1 that they depend “[s]pecifically” on United’s “Risk Adjustment Attestation.”
                         2 United States’ Amended Complaint-in-Partial-Intervention, ECF No. 171
                         3 (hereinafter Compl.) ¶¶ 345, 346, 349, 350, 353, 354. DOJ thus must establish that
                         4 the Attestations were material in order for those claims to proceed. DOJ also has a
                         5 separate reverse false claim theory, contained in its new First Claim for Relief, that
                         6 instead depends “[s]pecifically” on the “diagnoses that had been submitted to the
                         7 Medicare Program for risk adjustment payments” and the “overpayments based on
                         8 the invalid diagnosis.” Compl. ¶ 342.10 As explained below, DOJ has not satisfied
                         9 Escobar’s materiality standard as to either theory.
                    10             1.    DOJ Fails To Allege That CMS “Likely Or Actual[ly]” Would Have
                                         Withheld Payment If It Knew The Attestations Were False.
                    11
                                   DOJ’s attestation-based claims fail to make adequate allegations of
                    12
                            materiality. As United demonstrated in its motion (at 13-14), the Complaint never
                    13
                            alleges that CMS would have withheld payment from United if it had known that
                    14
                            United’s Risk Adjustment Attestations were supposedly false.          Nor does the
                    15
                            Complaint ever allege that CMS likely would have withheld payment in that
                    16
                            circumstance. In fact, even though “any understanding” of materiality “look[s] to
                    17
                            the effect on the . . . behavior of the recipient of the alleged misrepresentation,”
                    18
                            Escobar, 136 S. Ct. at 2002 (citation and internal quotation marks omitted), the
                    19
                            part of DOJ’s brief addressing the Attestations’ materiality (at 21-22) says nothing
                    20
                            at all about CMS’s behavior in response to them. The absence of this allegation
                    21
                            about the effect of the Attestations’ supposed falsity on CMS’s decision to pay
                    22
                            warrants dismissal of the attestation-based claims.        See Swoben, 2017 WL
                    23
                            4564722, at *6.
                    24
                    25
                            10
                           The common law claims in DOJ’s Fifth and Sixth Claims for Relief are less
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                       clear about whether they depend on the Attestations, the risk adjustment data itself,
                    27 or both. Because DOJ has not pled adequately the materiality of either the
                       Attestations or the risk adjustment data, those claims also should be dismissed.
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                         1        DOJ suggests that demanding allegations about the “likely” or “actual”
                         2 effect of the violation is an inappropriate “magic words” approach to Escobar.
                         3 Opp. 12. But the requirement is substantive, not semantic. Escobar held that
                         4 violations are material under the False Claims Act only if their “likely or actual”
                         5 effect is to cause the government to pay a claim it otherwise would not have paid.
                         6 Escobar, 136 S. Ct. at 2002. Where, as here, a plaintiff is unable to make even a
                         7 generalized allegation that the claimed violations rise to that level (let alone a
                         8 plausible and particularized allegation), then its claims should be dismissed. DOJ
                         9 has had multiple opportunities to make that allegation, or even to indicate that it
                    10 would make that allegation if given the opportunity for further amendment, and yet
                    11 it has conspicuously failed to do so.
                    12            That is no accident. DOJ does not claim that the alleged falsity of United’s
                    13 Attestations had a “likely or actual effect” on CMS’s payment decisions because it
                    14 cannot, in good faith, do so. Indeed, United is not aware of (and DOJ has not
                    15 identified) any instance in which CMS has ever denied payment or terminated any
                    16 MA plan’s contract because it concluded that the plan’s Attestation was false in the
                    17 manner that DOJ alleges United’s Attestations were false here.
                    18            It is not sufficient to argue, as DOJ does (at 21), that “the Attestation . . . was
                    19 meant to serve as a powerful deterrent against ‘knowingly’ submitting false claims
                    20 . . . [and] as [a] ‘bulwark[] against fraud.’” The question here is not the importance
                    21 of the Attestations in the abstract, but whether the specific alleged falsity in the
                    22 Attestations was material. For example, an Attestation might be technically false
                    23 on DOJ’s theory if some of the claims it covered included a “date of the medical
                    24 encounter” (Opp. 5) that was a day different from the date recorded in the
                    25 corresponding medical chart (while still within the same year). But no one could
                    26 plausibly claim that CMS would have refused to pay if it learned of that one-day
                    27 discrepancy. The relevant question, therefore, is not whether the Attestations in
                    28 the abstract serve important purposes, or whether CMS might have reacted
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                         1 differently to some other set of facts (like a plan that intentionally created
                         2 inaccurate diagnosis codes that no doctor had ever submitted, in order to increase
                         3 its payment11). It is instead whether CMS would have “likely” or “actual[ly]”
                         4 behaved differently had it known the Attestations were false in the particular
                         5 manner that DOJ alleges here—namely, because the MA plan allegedly knew or
                         6 should have known that some of the diagnoses codes received from providers and
                         7 transmitted to CMS could not be verified with medical charts. DOJ has not made,
                         8 and cannot make, that indispensable case-specific allegation.
                         9           DOJ also misses the mark in asserting (at 11) that the “Secretary of the
                    10 Department of Health and Human Services has authorized this FCA action.”
                    11 Despite authorizing the action itself, the Secretary and client agencies apparently
                    12 have not authorized DOJ to allege the necessary fact that CMS would have
                    13 withheld payment or behaved differently if it had known the Attestations were
                    14 false in the manner DOJ alleges. That is why DOJ is left arguing for a legal
                    15 standard no court in the nation since Escobar has adopted, under which DOJ can
                    16 pursue treble damages and other penalties even if the agency would not have done
                    17 anything differently had it known of the alleged violations.
                    18               DOJ also asserts (at 13) that it is impossible to resolve the materiality
                    19 inquiry at the pleading stage because it is not clear from the Complaint whether
                    20 CMS did, in fact, have “actual knowledge” of the truth while continuing to pay
                    21 United’s claims. DOJ appears to suggest that perhaps CMS continued to pay
                    22 United because it was unsure whether the allegations in DOJ’s complaint were
                    23 true.12 But whether CMS actually believed that the Attestations were false (on
                    24
                             11
                                  That fraudulent practice has nothing to do with DOJ’s allegations here.
                    25
                             12
                          DOJ also argues that “CMS did not know which of the millions of codes
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                       submitted by Defendants lacked support in the medical charts, precisely because
                    27 Defendants kept this information from the Government.” Opp. 14. But if the
                       supposed falsity of the Attestations themselves was material, CMS would not have
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                         1 DOJ’s understanding of them) does not matter where, as here, DOJ has failed to
                         2 offer even a conclusory allegation that, if CMS had, its “likely or actual behavior”
                         3 would have been different. Escobar, 136 S. Ct. at 2002. That necessary allegation
                         4 is not made at all, so the question whether it is plausible, given CMS’s continued
                         5 payments despite knowledge of “inevitable” coding errors in provider submissions,
                         6 does not even arise here. Cf. Knudsen v. Sprint Communications Co., Nos. C13-
                         7 04476 CRB et al., 2016 WL 4548924, at *13 (N.D. Cal. Sept. 1, 2016) (dismissing
                         8 complaint on materiality grounds and noting that “[a]lthough the government
                         9 might be correct that a PRC violation is material to the government’s decision to
                    10 pay, the issue here is the adequacy of [the] pleading”).
                    11            This Court should evaluate the Complaint as it is written. And as written,
                    12 DOJ’s Complaint clearly fails to allege that the Attestations on which the Second,
                    13 Third, and Fourth Claims for Relief rest had any “likely or actual” effect on CMS’s
                    14 decision to pay. Those claims thus should be dismissed with prejudice.
                    15            2.     DOJ Also Fails Adequately To Allege That The Unsupported Risk
                                         Adjustment Codes Were Material.
                    16
                                  As discussed above, DOJ added its new First Claim for Relief in an attempt
                    17
                            to solve the materiality problem with its attestation-based claims. Unlike the other
                    18
                            False Claims Act counts, the reverse false claim theory in the First Claim for Relief
                    19
                            relies on the specific unsupported diagnosis codes United allegedly submitted,
                    20
                            rather than the alleged falsity of the Attestations. See Compl. ¶ 342. And while
                    21
                            the bulk of DOJ’s claims are based on the Attestations, its brief focuses its
                    22
                            discussion of materiality predominantly on these diagnosis codes. See, e.g., Opp. 2
                    23
                            n.2 (focusing exclusively on allegations about specific diagnosis codes).
                    24
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                       needed to know which specific codes were unsupported; it would have been
                    27 enough to conclude just that some were (which would, under DOJ’s theory, have
                       rendered the Attestations false).
                    28
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                         1         While this new attempt to shift the focus from the materiality of United’s
                         2 Attestations to the materiality of specific diagnosis codes avoids any direct conflict
                         3 with Judge Walter’s Swoben decision, it still fails to satisfy Escobar’s materiality
                         4 standard. DOJ alleges only that if United had returned payments to CMS after
                         5 learning that those payments were based on unsupported codes, CMS would have
                         6 accepted them.      See United Mem. in Support 16-17.          Even if true, that is
                         7 insufficient. The relevant question is not whether the government would have
                         8 effectively accepted a repayment, but whether CMS itself would have sought to
                         9 recover those payments if it had learned that United was retaining them. See
                    10 Escobar, 136 S. Ct. at 2003. The Complaint contains no plausible allegations that
                    11 it would have done so.
                    12             DOJ claims that because its First Claim for Relief asserts a reverse false
                    13 claim theory, it makes no difference whether the agency would have sought to
                    14 recover, because “an implied materiality requirement logically would . . . focus on
                    15 Defendants’ obligation to repay the overpayment.”              Opp. 16.     That view is
                    16 impossible to reconcile with Escobar’s statement that “[u]nder any understanding
                    17 of the concept,” materiality looks to the effect on “the recipient of the alleged
                    18 misrepresentation.” 136 S. Ct. at 2002 (emphasis added). That view also makes
                    19 no sense. After all, how would a defendant-focused materiality inquiry operate?
                    20 Would the defendant be asked whether it thought that it should be paid
                    21 notwithstanding the violation in question?
                    22             Moreover, if what DOJ really means is that materiality is satisfied whenever
                    23 a defendant has an obligation to repay, regardless how the government agency
                    24 would have reacted to a violation of that obligation, it effectively has eliminated
                    25 the materiality requirement entirely. As United explained in its opening brief, that
                    26 would permit the government to convert literally any immaterial affirmative false
                    27 claim into a valid suit for a reverse false claim. For example, a company with a
                    28 contract specifying it was required to comply with all contractual obligations in
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                         1 order to receive payment, including using American-made staplers, would
                         2 technically have an obligation to return its payment if it used a foreign stapler.
                         3 Under DOJ’s theory, that company then would be liable under 31 U.S.C.
                         4 § 3729(a)(1)(G) even if it was abundantly clear the government would not actually
                         5 have denied payment in the first place had it know of the foreign stapler usage.
                         6 That cannot be right.13
                         7        The only authority DOJ cites to support this extreme position is the pre-
                         8 Escobar decision of United States v. Bourseau, 531 F.3d 1159 (9th Cir. 2008).
                         9 DOJ claims that Bourseau supports its view that assessing materiality in reverse
                    10 false claim cases does not depend on the effect of the alleged violation on the
                    11 government, because the cost reports in question there “were never reviewed by
                    12 the Government” and yet were nevertheless found material. Opp. 16. But DOJ
                    13 omits the crucial fact that the cost reports were reviewed by the Medicare
                    14 intermediary CMS had hired to “facilitate the reimbursement process.” Bourseau,
                    15 531 F.3d at 1162. Just as important, DOJ ignores that if the cost report there had
                    16 been reviewed by the government and found to be false, the government would
                    17 have demanded the overpayments. Id.
                    18            Here, the comparable allegations are missing about what CMS would have
                    19 done differently if it had known that United had failed to delete certain provider-
                    20 submitted codes that were unsupported by medical records.              That warrants
                    21 dismissal.       Moreover, DOJ has not suggested that it could further amend its
                    22 Complaint to solve those deficiencies, nor requested leave to do so, and dismissal
                    23
                             13
                           DOJ also insists that even if the agency itself would not have sought to recover
                    24 the alleged overpayments, DOJ has established materiality here by simply bringing
                    25 this False Claims Act suit. See Opp. 14. As with its novel defendant-focused
                       materiality standard, however, that proves too much: If merely bringing a False
                    26
                       Claims Act suit were sufficient to establish materiality, then materiality would
                    27 effectively be a non-element whenever DOJ asserted a claim under the False
                       Claims Act.
                    28
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                         1 on this ground thus should be with prejudice. See, e.g., Rubke v. Capitol Bancorp
                         2 Ltd., 551 F.3d 1156, 1167 (9th Cir. 2009) (holding that district court’s discretion to
                         3 dismiss complaint without leave to amend “is particularly broad in case such as
                         4 this, where a plaintiff has previously been granted leave to amend”).
                         5         C.    This Motion Presents No Occasion To Resolve The Actuarial
                                         Equivalence And Other Questions Currently Pending In United’s
                         6
                                         Administrative Procedure Act Suit.
                         7         As this Court knows, United filed an Administrative Procedure Act suit
                     8 challenging a 2014 CMS rule defining “overpayments.” Cross-motions for
                     9 summary judgment are pending in that case that could ultimately have impacts
                    10 here. See UnitedHealthcare Insurance Co. v. Hargan, No. 1:16-cv-00157-RMC
                    11 (D.D.C. Oct. 17, 2017), ECF No. 47-1 (Mem. in Support of United’s Mot. for
                    12 Summ. J.) (hereinafter United APA Mot. for Summ. J.); id. at ECF No. 57-1
                    13 (D.D.C. Dec. 4, 2017) (Mem. in Support of Government’s Mot. for Summ. J.).
                    14 One of the issues those motions raise is whether CMS lawfully may require MA
                    15 plans to delete (and thus not receive payment for) diagnosis codes that lack support
                    16 in medical charts, while at the same time calculating the per-code payment
                    17 amounts it pays MA plans using a mix of supported and unsupported codes in its
                    18 own traditional Medicare data (which, CMS officials have previously recognized,
                    19 “tends to reduce the estimated average cost of various conditions and therefore
                    20 [CMS’s] risk adjustment factors,” UnitedHealthcare Insurance Co. v. Hargan, No.
                    21 1:16-cv-00157-RMC (D.D.C. Oct. 2, 2017), ECF No. 44-4 at CMS0006190A).
                    22 United argues there that doing so violates the Medicare Act’s “actuarial
                    23 equivalence” requirement because it results in MA payments that are significantly
                    24 less than CMS would expect to incur for an identical beneficiary in traditional
                    25 Medicare. See United APA Mot. for Summ. J. at 22-32. Another issue in that
                    26 case concerns the meaning of “accuracy” in the context of diagnostic coding for
                    27 risk adjustment purposes. Before the 2014 rule, CMS had explained that “MA
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                         1 organizations are coding ‘accurately’ when they are coding in a manner similar to
                         2 fee-for-service coding used on the beneficiaries to whom MA plan enrollees are
                         3 being compared.” CMS, Announcement of Calendar Year (CY) 2010 Medicare
                         4 Advantage Capitation Rates and Medicare Advantage and Part D Payment Policies
                         5 20          (Apr.      6,      2009),      https://www.cms.gov/Medicare/Health-
                         6 Plans/MedicareAdvtgSpecRateStats/downloads/Announcement2010.pdf.           United
                         7 argues in its APA case that CMS could not lawfully adopt a different
                         8 understanding of “accuracy” in the 2014 rule, requiring plans to show that all
                         9 diagnosis codes are supported by charts, without holding itself to the same
                    10 “accuracy” standard or adjusting its payment practices to account for the
                    11 difference. See United APA Mot. for Summ. J. at 39-40.
                    12            Contrary to DOJ’s implication (at 18), however, those legal issues need not
                    13 be (indeed cannot be) relitigated in this motion, which concerns the distinct
                    14 pleading-stage failure of DOJ to allege the materiality of any of its claims. The
                    15 parties have submitted extensive briefing about the Medicare Act and its
                    16 implementing regulations in the APA case, and the decision there will by necessity
                    17 parse the meaning of those provisions based on the voluminous administrative
                    18 record. For purposes of this motion, however, those questions—and the litigation
                    19 concerning them—are relevant only as background to help understand why,
                    20 notwithstanding DOJ’s overstated fraud rhetoric, CMS’s real-world conduct (and
                    21 evident unwillingness to authorize allegations about how that conduct would have
                    22 changed) instead reflects the existence of a good-faith regulatory and contractual
                    23 dispute here.
                    24            D.      This Motion Also Presents No Occasion To Resolve The
                                          Implications Of A Future Decision In The Administrative Procedure
                    25
                                          Act Case.
                    26            This motion likewise presents no occasion to rule on the ultimate
                    27 implications of the APA court’s decision on this case.          DOJ is wrong in its
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                         1 suggestion—which lacks any citation to United’s brief—that United has asked this
                         2 Court to hold that “the use of the term ‘actuarial equivalence’ in the statute means
                         3 that [United’s] obligation to delete and repay Medicare for invalid payment data—
                         4 the invalid diagnoses—is immaterial.” Op. 20.          United’s motion rests on the
                         5 absence of crucial factual allegations establishing materiality, not on an application
                         6 of the Medicare Act’s actuarial equivalence requirement.
                         7         Once the APA court issues a decision, there may at that point be questions
                         8 about the implications of its decision for this case (if the case has not been
                         9 dismissed already). If the APA court determines that CMS may not require MA
                    10 plans to delete unsupported codes without first accounting for the unsupported
                    11 codes in its own data, for example, then this Court would then need to consider the
                    12 implications of that ruling here. Before this Court could do so, the parties would
                    13 need to brief—as DOJ currently ignores—the meaning and significance of
                    14 United’s contracts with CMS, under which CMS is obligated to pay United for the
                    15 very unsupported codes that DOJ claims United was obligated to delete. See 42
                    16 U.S.C. § 1395w-23(a)(1)(C)(i) (portion of Section 1853 of the Medicare Act
                    17 requiring CMS to adopt a payment methodology that will “ensure actuarial
                    18 equivalence”); Ex. 2 to Compl. at 196 (section of United’s contract with CMS on
                    19 “CMS Payment to MA Organization,” in which “CMS agrees to pay the MA
                    20 Organization under this contract in accordance with the provisions of section 1853
                    21 of the Act”). A decision by the APA court on the actuarial equivalence standard
                    22 and the other issues presented there thus could raise a number of significant issues
                    23 regarding the viability of DOJ’s claims here. But those issues would depend on the
                    24 scope and substance of the ruling and cannot adequately and efficiently be briefed
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                         1 at this time. More to the point, those issues were not raised or argued by United as
                         2 a basis for its current motion, and are not necessary to decide that motion either.14
                         3 II.     Congress’s 2009 Revisions To The Reverse False Claims Provision Do
                         4         Not Create Retroactive False Claims Act Liability For Obligations That
                                   Arose Prior To Their Enactment
                         5
                                   Because all of DOJ’s claims fail on materiality grounds, there is no need to
                         6
                             decide which claims also are barred by anti-retroactivity principles. If the Court
                         7
                             reaches that secondary question, however, there appears to be substantial common
                         8
                             ground between the parties on it. DOJ apparently concedes that Congress did not
                         9
                             intend its revisions to Section 3729(a)(1)(G) to apply retroactively, and defends its
                    10
                             claims only to the extent that they apply to “risk adjustment payments for payment
                    11
                             (i.e., calendar) year 2009 . . . and to all subsequent payment and date of service
                    12
                             years.”   Opp. 22.   DOJ does not defend its claims based on payments from
                    13
                             payment year 2008 and earlier, so those should be dismissed.15               United,
                    14
                    15
                             14
                    16           The government has recognized that the “actuarial equivalence” standard would
                             be a “central” issue in this case, even urging the D.D.C. to enter a stay that would
                    17
                             have allowed that issue to be addressed in the first instance here instead of in the
                    18       APA case. See UnitedHealthcare Insurance Co. v. Hargan, No. 1:16-cv-00157-
                             RMC (D.D.C. April 14, 2017), ECF No. 28 at 6 (“[A]bsent a stay, UnitedHealth
                    19
                             and the federal government will . . . litigate in both actions the validity of
                    20       UnitedHealth’s ‘actuarial equivalence’ theory”). That position is impossible to
                             reconcile with DOJ’s newly developed view that the “actuarial equivalence”
                    21
                             standard is irrelevant to this case. United, by contrast, has always argued that the
                    22       actuarial equivalence standard would prevent any ultimate recovery by DOJ in this
                             case and Swoben. It has consistently maintained, though, that the False Claims Act
                    23
                             suits might not reach that issue if they were decided on other grounds first,
                    24       including “the government’s inability to prove the materiality of any allegedly
                             false claim”—as Swoben already has been, and as this motion urges the Court to do
                    25
                             here. See UnitedHealthcare Insurance Co. v. Hargan, No. 1:16-cv-00157-RMC
                    26       (D.D.C. April 28, 2017), ECF No. 31 at 10.
                             15
                    27           DOJ indicates that “the final payment for payment year 2008 also may have
                             been made after May 20, 2009.” Opp. 22. United has no objection to deferring a
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                                                                               REPLY IN SUPPORT OF MOTION TO DISMISS
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                         1 meanwhile, does not intend its anti-retroactivity challenge to apply to DOJ’s
                         2 claims based on payment year 2010 and after.
                         3         What remains is a dispute about payment year 2009.            As to claims
                         4 concerning those payments, United agrees that they depend on factual questions
                         5 about the dates on which obligations arose. United therefore has no objection to
                         6 DOJ’s suggestion that resolution of those remaining anti-retroactivity questions be
                         7 deferred until they can be “presented to the court or jury after discovery is
                         8 completed.” Id. at 24 n.1016
                         9                                   CONCLUSION
                    10             For more than five years, United cooperated with DOJ’s extensive
                    11 investigation of this case.        If it continues, the case will continue to demand
                    12 considerable time, money, and attention for years to come. If United is really to be
                    13 forced to continue through that process, it should be because the allegations here
                    14 are about violations that truly made a difference, and that would have caused the
                    15 officials responsible for oversight of the Medicare Advantage program to make
                    16 different decisions if they had known about them. But even now, after seeing its
                    17 claims in Swoben dismissed for lacking precisely such allegations, after taking a
                    18
                             decision on whether the revised reverse false claim provision in Section
                    19
                             3729(a)(1)(G) applies to that payment until discovery has been completed.
                    20       16
                                  United does not understand DOJ to be defending claims based on payments
                    21       from payment years before 2009 (with the possible exception of the final payment
                             for 2008). See Opp. 24. To the extent that DOJ’s reference (at 22) to “contractual
                    22       and regulatory obligations [that] existed both prior to and after May 20, 2009” is
                    23       intended to somehow preserve such claims, however, it is plainly insufficient.
                             Prior to FERA’s enactment, failure to repay a known “obligation” to the
                    24       government was not a violation of the False Claims Act unless the defendant also
                    25       submitted a false record or statement to conceal the obligation. See Compl. ¶ 117
                             (describing FERA amendment). For the reasons explained in United’s opening
                    26
                             brief (at 19-20), the failure to repay an “obligation” that arose before FERA’s
                    27       enactment, unaccompanied by any false record or statement, therefore would not
                             give rise to a violation of Section 3729(a)(1)(G).
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                                                                             REPLY IN SUPPORT OF MOTION TO DISMISS
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                         1 month to try to amend its Complaint to fill the gaps Swoben identified, and even
                         2 after having a chance in its brief to say that if given leave to amend again it would
                         3 allege that CMS would have proceeded differently, DOJ does not and cannot make
                         4 that necessary allegation. For that fundamental reason, and the others addressed
                         5 above, the Court should dismiss this case with prejudice.
                         6
                         7
                         8 Dated: January 16, 2018             LATHAM & WATKINS LLP
                         9                                     DAVID J. SCHINDLER
                                                               DANIEL MERON
                    10                                         ABID R. QURESHI
                                                               KATHRYN H. RUEMMLER
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                    12
                                                               By /s/ David J. Schindler
                    13                                            David J. Schindler
                                                                  Attorneys for United Defendants
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A TTO R N EYS A T L AW
                                                                             REPLY IN SUPPORT OF MOTION TO DISMISS
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